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 5
 6   Attorney for Defendant
     KEIT TRAN
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                  ) Case No. Cr.S. 10-0042-MCE
                                                )
11                            Plaintiff,        ) MOTION TO EXONERATE BOND AND
                                                ) ORDER
12                vs.                           )
                                                )
13   KEIT TRAN,                                 )
                                                )
14                            Defendant.        )
                                                )
15                                              )
16
17          On January 22, 2010, Magistrate Judge Dale A. Drozd ordered Mr. Tran released on an
18   unsecured bond of $50,000 to be co-signed by Mr. Tran’s sister, Cindy Mui Tran and also
19   secured by his sister’s property bond by a Deed of Trust in the amount of $158,000.00 posted
20   with this court on February 22, 2010 by Samantha Tran.     Mr. Tran has fulfilled all of his
21   obligations to the Court while on release and has self-surrendered to the custody of the Bureau of
22   Prisons on November 28, 2013 and will remain in custody until his sentencing term is
23   completed.
24          Because he is no longer on release conditions, the unsecured bond posted on January 22,
25   2010 securing Mr. Tran’s appearance and the Deed of Trust posted on February 22, 2010 may be
26   ordered exonerated.
27          Accordingly, Mr. Tran hereby moves to exonerate the unsecured bond co-signed by his
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 1   sister, Cindy Mui Tran, and the Deed of Trust posted on February 22, 2010, by his sister
 2   Samantha Tran, be reconveyed as set forth in the attached proposed order.
 3                                                 Respectfully submitted,
 4                                                 HEATHER E. WILLIAMS
                                                   Federal Defender
 5
                                                   /s/ Linda C. Harter
 6                                                 LINDA C. HARTER
                                                   Chief Assistant Federal Defender
 7                                                 Attorney for Keit Tran
 8
 9                                                 ORDER
10
            The Court finds that Mr.Tran was released pursuant to a $50,000 unsecured bond co-
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     signed by Cindy Mui Tran and a property bond posted by a Deed of Trust in the amount of
12
     $158,000.00 by Samantha Tran. Mr. Tran is in custody and will remain in custody until his term
13
     is completed. He has satisfied all of his pre-trial release obligations to the Court.
14
            THEREFORE, it is hereby ORDERED that the Clerk of the Court exonerate the $50,000
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     unsecured bond and that the Clerk of the Court reconvey the Deed of Trust that served as the
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     property bond in this case.
17
18   Dated: December 4, 2013
                                                       _____________________________________
19                                                     CAROLYN K. DELANEY
                                                       UNITED STATES MAGISTRATE JUDGE
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